Case 1:19-cv-01037-PLM-RSK ECF No. 72, PageID.620 Filed 10/26/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 JOSEPH BRUNEAU,

       Plaintiff,
                                                    Case No. 1:19-cv-1037
 v.
                                                    HONORABLE PAUL L. MALONEY
 AQUINAS COLLEGE,

       Defendant.
 ____________________________/


                                        JUDGMENT

      In accordance with the Order entered on this date:

      IT IS HEREBY ORDERED that Judgment is entered.



Dated: October 26, 2021                                    /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           United States District Judge
